                                            Case 2:19-bk-52861                 Doc 212 Filed FORM 1
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                                                                         INDIVIDUAL ESTATE PROPERTY RECORD
                                                                                            Page 1 of 10 AND REPORT
                                                                                          ASSET CASES

Case No.:                        19-52861                                                                                                                   Trustee Name:                             Myron N. Terlecky
Case Name:                       VILLAVICENCIO, JOSE R.                                                                                                     Date Filed (f) or Converted (c):          05/01/2019 (f)
For the Period Ending:           03/31/2025                                                                                                                 §341(a) Meeting Date:                     06/10/2019
                                                                                                                                                            Claims Bar Date:                          09/09/2019
                                    1                                                 2                               3                               4                         5                                         6

                        Asset Description                                        Petition/                  Estimated Net Value                  Property                  Sales/Funds             Asset Fully Administered (FA)/
                         (Scheduled and                                        Unscheduled                 (Value Determined by                  Abandoned                 Received by             Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                     Value                           Trustee,                 OA =§ 554(a) abandon.            the Estate
                                                                                                          Less Liens, Exemptions,
                                                                                                             and Other Costs)

Ref. #
1        VOID                                                                             $0.00                                  $0.00                                                $0.00                                          FA
Asset Notes:      This asset was marked VOID as it was previously a duplicate of Asset 2. The notation of this asset as fully administered should not be interpreted as suggesting that Asset 2 is fully
                  administered.
2        44-46 S Hague Ave. Columbus OH 43204-0000                               $72,200.00                               $68,200.00                                                 $0.00                                           FA
Asset Notes:    This asset was transferred to a third party on the petition date. An avoidance action was filed. See Asset 34.
3      483-5 S Champion Ave. Columbus, OH -                                        $51,400.00                            $51,400.00                                                   $0.00                                          FA
       43205-0000 Franklin County
Asset Notes:    This asset was transferred to a third party on the petition date. An avoidance action was filed. See Asset 34.
4      1361 E. University Blvd. Apt. 306 Las Vegas,                                $60,000.00                            $15,000.00                                                   $0.00                                   $60,000.00
       NV - 89119-0000 Clark County
5      5465 Hansel Ave. Camelot by the Lake Orlando,                               $90,000.00                            $90,000.00                                            $129,000.00                                           FA
       FL - 32809-0000 Orange County
6      5449 Hansel Ave Camelot by the Lake Orlando,                                $50,000.00                            $50,000.00                                            $106,000.00                                           FA
       FL - 32809-0000 Orange County
7      Household Furnishings                                                          $500.00                                  $0.00                                                  $0.00                                          FA
8        Electronics                                                                   $200.00                                   $0.00                                                $0.00                                          FA
9        Clothing                                                                      $200.00                                   $0.00                                                $0.00                                          FA
10       Checking Fifth Third Bank                                                   $2,000.00                                 $175.00                                                $0.00                                          FA
11       Checking Fifth Third Bank (business account)                                     $0.00                                  $0.00                                                $0.00                                          FA
12     Name of entity: % of ownership: South German                                $20,000.00                               $57,566.45                                          $56,566.45                                     $1,000.00
       Village LLC 5 %
Asset Notes:     The real estate owned by this LLC was the subject of the adversary proceeding for substantive consolidation. The adversary proceeding was settled. See, Doc. 149. See, also Asset 15. The
                 payments due under that compromise have been made. The value of this asset is listed for litigation purposes only and is not an indication of the actual value of the asset. While the interest
                 of the LLC in certain real estate has been settled, the ownership interest remains an asset to be administered. The value of this ownership interest is not known and is listed for litigation
                 purposes only.
13     JVAT LLC 50 %                                                                     $0.00                                   $0.00                                               $0.00                                           FA
Asset Notes:   At the deposition in the case McDermont v Villavicencio, Adv. Pro. 19-2140, held on August 26, 2020, the Debtor testified that this entity owned no assets. Because of the lack of records
               maintained by the Debtor, the notation that this asset has been fully administered is not an admission by the Trustee that there are in fact no assets owned by this entity.
14     Amerience LLC 100 %                                                             $0.00                                  $0.00                                                  $0.00                                           FA
Asset Notes:      At the deposition in the case McDermont v Villavicencio, Adv. Pro. 19-2140, held on August 26, 2020, the Debtor testified that this entity owned no assets. Because of the lack of records
                  maintained by the Debtor, the notation that this asset has been fully administered is not an admission by the Trustee that there are in fact no assets owned by this entity.
15       Argous LLC 5 %                                                               $2,500.00                             $71,000.00                                            $70,000.00                                   $1,000.00
Asset Notes:        The real estate owned by this LLC was the subject of the adversary proceeding for substantive consolidation. The adversary proceeding was settled. See, Doc. 149. See, also Asset 12. The
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                                                                                           ASSET CASES

Case No.:                       19-52861                                                                                                                   Trustee Name:                             Myron N. Terlecky
Case Name:                      VILLAVICENCIO, JOSE R.                                                                                                     Date Filed (f) or Converted (c):          05/01/2019 (f)
For the Period Ending:          03/31/2025                                                                                                                 §341(a) Meeting Date:                     06/10/2019
                                                                                                                                                           Claims Bar Date:                          09/09/2019
                                   1                                                 2                               3                                4                        5                                         6

                       Asset Description                                        Petition/                  Estimated Net Value                   Property                 Sales/Funds             Asset Fully Administered (FA)/
                        (Scheduled and                                        Unscheduled                 (Value Determined by                   Abandoned                Received by             Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                     Value                           Trustee,                  OA =§ 554(a) abandon.           the Estate
                                                                                                         Less Liens, Exemptions,
                                                                                                            and Other Costs)

                payments due under that compromise have been made. The value of this asset is listed for litigation purposes only and is not an indication of the actual value of the asset. While the interest
                of the LLC in certain real estate has been settled, the ownership interest remains an asset to be administered. The value of this ownership interest is not known and is listed for litigation
                purposes only.
16      JRV SEPIRA LLC 100 %                                                        Unknown                              $496,900.00                                                $0.00                                            FA
Asset Notes:    The valuation placed by the Trustee is based on the County Auditor's value of the real estate owned by this entity. This entity is owned by the IRA referenced in Asset 18. This asset is
                therefore duplicated by Asset 18. All proceeds received from the sale of assets owned by this LLC will be listed with Asset 18. Identifying this asset as Fully Administered is not an
                admission that the assets owned by this LLC have been fully administered.
17     South German Village Medical Inc. 100 %                                        $0.00                                    $0.00                                               $0.00                                             FA
Asset Notes:   There is no evidence that this entity owns any real estate. Because of the lack of records maintained by the Debtor, the notation that this asset has been fully administered is not an admission
               by the Trustee that there are in fact no assets owned by this entity.
18     IRA Madison Trust (JRV SEPIRA LLC)                                        $240,000.00                         $1,117,200.00                                            $172,273.70                                    $944,926.30
Asset Notes:     This asset owns the entity listed in Asset 16. The valuation placed by the Trustee is based on the County Auditor's value of the real estate owned by this entity. The value of the real estate
                 will be determined as it is sold. The Debtor claimed an exemption in this asset. The Trustee's objection to the claimed exemption was sustained, including through the appeals referenced in
                 the notes.
19     12007 Cypress Rd.                                          (u)            $80,000.00                               $80,000.00                                                 $0.00                                    $80,000.00
       Orlando, FL 32836
Asset Notes:     Timeshare Deeded to South German Village Medical Center
20     Grayson County Virginia Property                           (u)               $500.00                                   $500.00                                                $0.00                                           FA
Asset Notes:    Undeveloped Plot of Land, Landlocked
21     1980 Porsche                                                 (u)               $300.00                                 $300.00                                                $0.00                                           FA
22      Chevrolet Corvette 1978                                     (u)               $300.00                                 $300.00                                                $0.00                                           FA
23      Datsun 240 1974                                             (u)               $200.00                                 $200.00                                                $0.00                                           FA
24      Oldsmobile Toronado 1966                                    (u)                  $0.00                                $400.00                                                $0.00                                           FA
25      AMC--AMX                                                    (u)               $300.00                                 $300.00                                                $0.00                                           FA
26      Lotus Exprit 1974                                           (u)                  $0.00                                $200.00                                                $0.00                                           FA
27      Ford F-150                                                  (u)               $300.00                                 $300.00                                                $0.00                                           FA
        1992
28      Mitsubishi 3000 GT                                          (u)               $400.00                                 $400.00                                                $0.00                                           FA
        1996
29      Nissan Maxima                                               (u)               $300.00                                 $300.00                                                $0.00                                           FA
        2000
30      Chevrolet Box Truck                                         (u)               $400.00                                 $400.00                                                $0.00                                           FA
31      Ford Van                                                    (u)                  $0.00                                $400.00                                                $0.00                                           FA
        1996
                                          Case 2:19-bk-52861                  Doc 212 Filed FORM 1
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Case No.:                     19-52861                                                                                                                     Trustee Name:                             Myron N. Terlecky
Case Name:                    VILLAVICENCIO, JOSE R.                                                                                                       Date Filed (f) or Converted (c):          05/01/2019 (f)
For the Period Ending:        03/31/2025                                                                                                                   §341(a) Meeting Date:                     06/10/2019
                                                                                                                                                           Claims Bar Date:                          09/09/2019
                                  1                                                 2                               3                                4                         5                                         6

                      Asset Description                                        Petition/                  Estimated Net Value                   Property                 Sales/Funds              Asset Fully Administered (FA)/
                       (Scheduled and                                        Unscheduled                 (Value Determined by                   Abandoned                Received by              Gross Value of Remaining Assets
                  Unscheduled (u) Property)                                     Value                           Trustee,                  OA =§ 554(a) abandon.           the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

32      Toyota Camry                                              (u)                $300.00                                 $300.00                                                 $0.00                                          FA
        1993
33      Toyota Camry                                              (u)                $300.00                                 $300.00                                                 $0.00                                          FA
        2003
34      Avoidance Claim related to Assets 2 and 3 above           (u)                   $0.00                            $123,600.00                                           $80,000.00                                           FA
Asset Notes:     This avoidance claim is Adv. Pro 21-2017.


TOTALS (Excluding unknown value)                                                                                                                                                                        Gross Value of Remaining Assets
                                                                               $672,600.00                              $2,225,641.45                                         $613,840.15                                $1,086,926.30



Major Activities affecting case closing:
 03/31/2025    The Debtor filed a Pro Se Appeal in the Sixth Circuit Court of Appeals on January 21, 2025, even though the appeal was dismissed. A Motion to Reinstate the Appeal was then filed by
               the Debtor to reinstate the appeal on February 5, 2025. On February 21, 2025, the Appeal was reinstated. In the Appeal, on February 25, 2025, the Debtor filed a Motion requesting the
               Court to assign court appointed legal counsel. The Trustee filed a response on March 4, 2025. The Court of Appeals has not ruled at this point. After the Court reinstated the Appeal, the
               Trustee filed his Brief on March 18, 2025. No further action has been taken at the Appellate Court.

               The Trustee received updated title reports on the real estate owned by JRV Sepira LLC. The Trustee is working with the title agency and will be filing a Motion to Sell Real Estate by
               JRV Sepira LLC by April 21, 2025.

               The Trustee also inquired with counsel for the Ohio Department of Taxation regarding judgment liens. It was determined that the Ohio Department of Taxation was paid in full. The
               claim of the Ohio Department of Taxation in the amount of $50,000 (Claim 7) was withdrawn.

               The Trustee continues to monitor the Receivership proceedings and the sale of property in the name of South German Village Medical Center LLC, an entity that does not exist, with the
               proceeds to be turned over.
 01/01/2025    On October 25, 2024, an order was entered authorizing the employment of an accountant to file all tax returns required in this case (doc. 197).

               Attorney Fees and Expenses were awarded and paid in the amount of $163,000 and $1,940.87. Mediator Fees were paid in the amount of $2,500.00.

               After the Bankruptcy Appellate Panel dismissed an Appeal by an Order entered on October 8, 2024, the Debtor filed a Pro Se appeal to the Sixth Circuit Court of Appeals. The Debtor’s
               brief is due on January 6, 2025.
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Case No.:                     19-52861                                                                                                                    Trustee Name:                             Myron N. Terlecky
Case Name:                    VILLAVICENCIO, JOSE R.                                                                                                      Date Filed (f) or Converted (c):          05/01/2019 (f)
For the Period Ending:        03/31/2025                                                                                                                  §341(a) Meeting Date:                     06/10/2019
                                                                                                                                                          Claims Bar Date:                          09/09/2019
                                  1                                                 2                               3                                4                        5                                         6

                     Asset Description                                         Petition/                  Estimated Net Value                  Property                  Sales/Funds              Asset Fully Administered (FA)/
                      (Scheduled and                                         Unscheduled                 (Value Determined by                  Abandoned                 Received by              Gross Value of Remaining Assets
                 Unscheduled (u) Property)                                      Value                           Trustee,                 OA =§ 554(a) abandon.            the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

 09/01/2024    The Trustee has reached an agreement with the attorney for Verna Coward who has a judgment lien on real estate in Franklin County, Ohio and in Florida. A motion to compromise that
               claim was filed on July 18, 2024. The Trustee filed a Motion to Sell Florida Real Estate on July 18, 2024.

               On May 22, 2024, the Debtor filed a Motion to Reopen the Case (sic). A response was filed since the case was already open. On July 19, 2024, the Court denied the Motion to Reopen.

                On August 21, 2024, the Debtor, on a pro se basis, filed an Appeal of the July 19 Order to the Bankruptcy Appellate Panel for the Sixth Circuit Court of Appeals. The Appeal was not
               timely filed. .

               Orders authorizing the sale of the Florida real estate were entered on August 9, 2024, and an Amended Order was entered on August 27, 2024. The Amended Order was entered as the
               August 7 Order did not include the legal description that was to be attached to the Order. The Florida real estate was sold on August 20, 2024. The total net proceeds to the bankruptcy
               estate from the sale of the Florida real estate was over $72,000. The net proceeds from the sale of the Florida real estate is the amount after the payment to Verna Coward, which
               compromise was approved on August 29, 2024 (Doc. 181).

               The final payment on the compromise regarding the substantive consolidation adversary proceeding that was approved on June 7, 2024, was received on August 8, 2024, in the amount
               of $70,00.00.
 07/01/2024    On April 25, 2024, a motion to approve the compromise regarding the substantive consolidation lawsuit was filed and approved on June 7, 2024.
 03/31/2024    The Motion to Withdraw the Reference in the pending Substantative Consolidation adversary proceeding was denied by the District Court by an Order entered on October 12, 2023.

               A mediation is scheduled for April 3, 2024, in the Adversary Proceeding for Substantive Consolidation and for Turnover of Property of the Estate.

               After filing briefs in January 2023, the Sixth Circuit Court of Appeals, on December 26, 2023, entered an Order affirming the District Court's Order that affirmed the Bankruptcy Court's
               Order sustaining an Objection to the claimed exemption and denied the Debtor's Motions as moot. The Debtor on March 26, 2024, filed a petition for Writ of Certiori with the US
               Supreme Court.

               The Trustee continues to monitor proceedings in the Franklin County Municipal Court, Environmental Division, with respect to properties that are in the name of LLCs in which the
               Debtor has an interest.

               On January 2, 2024, the Court entered an Order Granting Motion of Chapter 7 Trustee for Authority to Liquidate Assets of JRV SEPIRA, LLC (See, Asset 16). The Trustee has collected
               certain funds arising out of the foreclosure sales in the Franklin County Common Pleas Court.

               On March 22,2024, an Application to employ a realtor to sell real estate owned by the Debtor located in Florida was filed. The Trustee will be moving to sell all other real estate by May
               15, 2024.




                                                                                                                                                     SUBTOTALS                    $0.00                     $0.00
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Case No.:                      19-52861                                                                                                                   Trustee Name:                            Myron N. Terlecky
Case Name:                     VILLAVICENCIO, JOSE R.                                                                                                     Date Filed (f) or Converted (c):         05/01/2019 (f)
For the Period Ending:         03/31/2025                                                                                                                 §341(a) Meeting Date:                    06/10/2019
                                                                                                                                                          Claims Bar Date:                         09/09/2019
                                   1                                                2                               3                               4                        5                                         6

                     Asset Description                                         Petition/                  Estimated Net Value                  Property                 Sales/Funds             Asset Fully Administered (FA)/
                      (Scheduled and                                         Unscheduled                 (Value Determined by                  Abandoned                Received by             Gross Value of Remaining Assets
                 Unscheduled (u) Property)                                      Value                           Trustee,                 OA =§ 554(a) abandon.           the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

 03/31/2023        On January 13, 2022, an Opinion and Order was entered sustaining the Trustee’s Objection to the Debtor’s Claimed Exemptions (Doc #100). The U.S. District Court affirmed the
               Bankruptcy Court on January 27, 2023. The Debtor filed a pro se appeal to the 6th Circuit Court of Appeals. the Trustee's brief is due July 31, 2023. .

                      The Adversary Proceeding for an Avoidance Claim, filed on April 8, 2021, Adv. Pro. 21-2017, was settled and the sum of $80,000 was received in November, 2022.

                      The Adversary Proceedings for Substantive Consolidation and for Turnover of Property of the Estate is the subject of a Motion to Withdraw the reference. No trial date has been
               set.

                     Real estate owed by LLCs in which the Debtor has an interest is being foreclosed upon in the Court of Common Pleas of Franklin County, Ohio. The Trustee has filed a Motion to
               Intervene in each case and is seeking to have any excess funds paid over to the bankruptcy estate.

                     The resolution of the appeal and the pending adversary proceeding will determine the administration of this case.
 11/22/2022    An Order approving a Compromise with the Defendant in Adv Pro 21-2017 (Asset 34) was entered on August 4, 2022. The Defendant failed to perform and a Motion to vacate the
               Compromise was filed on Sept 14, 2022 (Doc 116). An Agreed Order on the Motion to Vacate was entered on November 14, 2022 (Doc.117), The settlement payment was received
               today, and the Adversary Proceeding will be dismissed.
 03/31/2022    On January 13, 2022, an Opinion and Order was entered sustaining the Trustee’s Objection to the Debtor’s Claimed Exemptions (Doc #100). The Debtor has filed an appeal of that
               Opinion. The resolution of the appeal and the pending adversary proceedings will determine the administration of this case.
 06/30/2021    On July 14, 2020, an Objection to Debtor’s Claim of Exemptions was filed (Doc. 55). A hearing on the claim for exemption was held on December 14, 2020. Post-hearing briefs were
               completed on February 1, 2021. An Adversary Proceeding for an Avoidance Claim was filed on April 8, 2021, Adv. Pro. 21-2017.
               On April 30, 2021, Adv. Pro. 21-2019 was filed for Substantive Consolidation and for Turnover of Property of the Estate seeking to substantively consolidate various limited liability
               companies in which the Debtor had an interest in the Debtor’s bankruptcy case.
               The filing of the Final Report will depend upon the resolution of the referenced Adversary Proceedings.
 06/30/2020    The Trustee is preparing a Complaint to substantively consolidate the assets of the Debtor with his interest in a number of business entities. An Objection to the IRA Exemption set
               forth in the Schedules will be filed by July 14, 2020.
 06/30/2019    The meeting of creditors was adjourned to July 15, 2019. Debtor was to provide documentation to allow a determination to be made as to the value of his assets. Debtor failed to do so.
               Trustee is investigating the value of the assets and avoidance claims.


Initial Projected Date Of Final Report (TFR):           12/31/2020                           Current Projected Date Of Final Report (TFR):              12/31/2026               /s/ MYRON N. TERLECKY
                                                                                                                                                                                 MYRON N. TERLECKY
                                        Case 2:19-bk-52861     Doc 212           Filed 04/24/25 Entered 04/24/25 13:02:34                                  Desc
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                                                             CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       19-52861                                                                                          Trustee Name:                        Myron N. Terlecky
Case Name:                     VILLAVICENCIO, JOSE R.                                                                            Bank Name:                           Pinnacle Bank
Primary Taxpayer ID #:         **-***0281                                                                                        Checking Acct #:                     ******0271
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:
For Period Beginning:          04/01/2024                                                                                        Blanket bond (per case limit):       $2,000,000.00
For Period Ending:             03/31/2025                                                                                        Separate bond (if applicable):


     1                2                       3                                                  4                                                     5                    6               7

Transaction      Check /                   Paid to/                     Description of Transaction                                Uniform           Deposit           Disbursement        Balance
   Date           Ref. #                Received From                                                                            Tran Code            $                    $


11/23/2022           (34)   KEMBA FINANCIAL CREDIT UNION        Payment of Avoidance Claim                                        1241-000          $80,000.00                    $0.00      $80,000.00
12/30/2022                  Pinnacle Bank                       Service Charge                                                    2600-000                 $0.00                $118.91      $79,881.09
01/04/2023           3001   INSURANCE PARTNERS                  Pro Rata Bond Payment--Invoice #1074499                           2300-000                 $0.00                  $4.57      $79,876.52
06/21/2023           (18)   FRANKLIN COUNTY CLERK OF            Payment for Real Estate Sold at State Court                       1129-000          $59,494.65                    $0.00     $139,371.17
                            COURTS                              Foreclosure Sale. 2581 Parkwood Ave., Cols, OH
08/11/2023           (18)   FRANKLIN COUNTY SHERIFF'S           Payment on Real Estate at 637 S. Wheatland Ave.                   1129-000          $51,653.59                    $0.00     $191,024.76
                            OFFICE
08/24/2023           (18)   FRANKLIN COUNTY SHERIFF'S           Payment on Real Estate at 1003 McClelland Ave.                    1129-000          $61,125.46                    $0.00     $252,150.22
                            OFFICE
11/29/2023           (12)   FRANKLIN COUNTY SHERIFF'S           Payment of Proceeds for 1037 & 1039 James Rd.                     1129-000          $56,566.45                    $0.00     $308,716.67
                            OFFICE                              South German Village LLC
11/30/2023           3002   INSURANCE PARTNERS                  Bond Payment                                                      2300-000                 $0.00                 $54.56     $308,662.11
07/31/2024                  Pinnacle Bank                       Service Charge                                                    2600-000                 $0.00                $443.97     $308,218.14
08/08/2024           (15)   Land and Mortgage Title Agency      Payment of Settlement Proceeds re: the settlement of              1249-000          $70,000.00                    $0.00     $378,218.14
                                                                Adv. Pro. 21-2019 (See also, Doc. 149)
08/21/2024                  LEADING EDGE TITLE OF CENTRAL       Payment on Sale of Real Estate                                        *             $76,423.87                    $0.00     $454,642.01
                            FLORIDA, LTD
                     {5}                                        Gross Proceeds                                   $129,000.00      1110-000                                                 $454,642.01
                                                                HOA--Outstanding Balance to Arias                ($21,950.19)     4120-000                                                 $454,642.01
                                                                Bosinger, PLLC
                                                                Property Taxes to Orange County Tax              ($20,522.99)     2820-000                                                 $454,642.01
                                                                Collector/County Taxes
                                                                Realtor Commissions                               ($7,740.00)     3510-000                                                 $454,642.01
                                                                Credit for HOA Proration                               $193.80    2420-000                                                 $454,642.01
                                                                Settlement Charges                                ($2,556.75)     2500-000                                                 $454,642.01




                                                                                                                                 SUBTOTALS          $455,264.02                 $622.01
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                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       19-52861                                                                                                       Trustee Name:                        Myron N. Terlecky
Case Name:                     VILLAVICENCIO, JOSE R.                                                                                         Bank Name:                           Pinnacle Bank
Primary Taxpayer ID #:         **-***0281                                                                                                     Checking Acct #:                     ******0271
Co-Debtor Taxpayer ID #:                                                                                                                      Account Title:
For Period Beginning:          04/01/2024                                                                                                     Blanket bond (per case limit):       $2,000,000.00
For Period Ending:             03/31/2025                                                                                                     Separate bond (if applicable):


     1                2                         3                                                            4                                                      5                    6                 7

Transaction      Check /                    Paid to/                                Description of Transaction                                 Uniform           Deposit           Disbursement          Balance
   Date           Ref. #                 Received From                                                                                        Tran Code            $                    $


08/21/2024                  LEADING EDGE TITLE OF CENTRAL                   Payment on Sale of Real Estate                                         *             $68,575.35                     $0.00      $523,217.36
                            FLORIDA, LTD
                     {6}                                                    Gross Proceeds                                 $106,000.00         1110-000                                                   $523,217.36
                                                                            HOA Assessment and Estoppel                     ($15,524.80)       4120-000                                                   $523,217.36
                                                                            Reimbursements
                                                                            Orange County Taxes/County Taxes                ($13,401.66)       2820-000                                                   $523,217.36
                                                                            Realtors Commission                                 ($6,360.00)    3510-000                                                   $523,217.36
                                                                            Credit for HOA Proration                              $142.56      2420-000                                                   $523,217.36
                                                                            Settlement Charges                                  ($2,280.75)    2500-000                                                   $523,217.36
08/30/2024                  Pinnacle Bank                                   Service Charge                                                     2600-000                 $0.00                $604.83       $522,612.53
09/03/2024           3003   Verna R. Coward and Verna R. Coward,            Payment on Compromise of Claims--Sale Proceeds                     4110-000                 $0.00           $34,287.68         $488,324.85
                            Administrator                                   from 5449 Hansel Ave.
                                                                            Order Entered 8-29-24
09/03/2024           3004   Verna R. Coward and Verna R. Coward,            Payment on Compromise--Sale Proceeds from 5465                     4110-000                 $0.00           $38,211.93         $450,112.92
                            Administrator                                   Hansel Ave.
                                                                            Order Entered 8-29-24
09/11/2024           3005   Land and Mortgage Title                         Payment of Administrative Expense Claim                            2990-000                 $0.00            $3,000.00         $447,112.92
                                                                            Order Entered 9-9-2024 (Doc. 187)
09/25/2024                  Leading Edge Title of Central Florida, Ltd      Refund of Overpayment of Taxes                                     2820-002                 $0.00                ($118.57)     $447,231.49
09/25/2024                  Leading Edge Title of Central Florida Ltd       Refund of Overpayment of Taxes                                     2820-002                 $0.00                 ($72.75)     $447,304.24
09/30/2024                  Pinnacle Bank                                   Service Charge                                                     2600-000                 $0.00                $615.83       $446,688.41
09/30/2024           3006   Verna R. Coward and Verna R. Coward,            Payment on Compromise Order (Doc. 181)                             4110-000                 $0.00                  $36.38      $446,652.03
                            Administrator                                   5449 Hansel Ave. Refund of tax Overpayment
09/30/2024           3007   Verna R. Coward and Verna R. Coward,            Payment on Compromise Order (Doc. 181)                             4110-000                 $0.00                  $59.29      $446,592.74
                            Administrator                                   5465 Hansel Ave. Refund of tax Overpayment
10/31/2024                  Pinnacle Bank                                   Service Charge                                                     2600-000                 $0.00                $558.36       $446,034.38
11/08/2024           3008   STRIP, HOPPERS, LEITHART,                       Attorney for Trustee Fees (Order Entered 11-7-24)                  3110-000                 $0.00          $163,000.00         $283,034.38
                            MCGRATH & TERLECKY CO. LPA                      Doc. 199


                                                                                                                                              SUBTOTALS           $68,575.35           $240,182.98
                                       Case 2:19-bk-52861         Doc 212           Filed 04/24/25 Entered 04/24/25 13:02:34                         Desc
                                                                                     FORM
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                                                                CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       19-52861                                                                                    Trustee Name:                         Myron N. Terlecky
Case Name:                     VILLAVICENCIO, JOSE R.                                                                      Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:         **-***0281                                                                                  Checking Acct #:                      ******0271
Co-Debtor Taxpayer ID #:                                                                                                   Account Title:
For Period Beginning:          04/01/2024                                                                                  Blanket bond (per case limit):        $2,000,000.00
For Period Ending:             03/31/2025                                                                                  Separate bond (if applicable):


     1                2                      3                                                     4                                             5                     6                 7

Transaction      Check /                   Paid to/                        Description of Transaction                       Uniform           Deposit            Disbursement          Balance
   Date           Ref. #                Received From                                                                      Tran Code            $                     $


11/08/2024           3009   STRIP, HOPPERS, LEITHART,              Attorney for Trustee Expenses (Order Entered 11-7-24)    3120-000                 $0.00             $1,940.87         $281,093.51
                            MCGRATH & TERLECKY CO., LPA            Doc. 199
11/29/2024                  Pinnacle Bank                          Service Charge                                           2600-000                 $0.00                  $437.94      $280,655.57
12/16/2024           3010   INSURANCE PARTNERS                     Bond Payment                                             2300-000                 $0.00                   $92.75      $280,562.82
12/30/2024           3011   WILLIAM B. LOGAN                       Payment of Mediator Fees (Administrative Expense         3721-000                 $0.00             $2,500.00         $278,062.82
                                                                   Claim)--Order Entered 12-26-24 (Doc. 205)
12/31/2024                  Pinnacle Bank                          Service Charge                                           2600-000                 $0.00                  $350.78      $277,712.04
01/09/2025           3006   STOP PAYMENT: Verna R. Coward and      Payment on Compromise Order (Doc. 181)                   4110-004                 $0.00                  ($36.38)     $277,748.42
                            Verna R. Coward, Administrator         5449 Hansel Ave. Refund of tax Overpayment
01/09/2025           3007   STOP PAYMENT: Verna R. Coward and      Payment on Compromise Order (Doc. 181)                   4110-004                 $0.00                  ($59.29)     $277,807.71
                            Verna R. Coward, Administrator         5465 Hansel Ave. Refund of tax Overpayment
01/31/2025                  Pinnacle Bank                          Service Charge                                           2600-000                 $0.00                  $347.25      $277,460.46
02/28/2025                  Pinnacle Bank                          Service Charge                                           2600-000                 $0.00                  $346.82      $277,113.64
03/31/2025                  Pinnacle Bank                          Service Charge                                           2600-000                 $0.00                  $346.39      $276,767.25




                                                                                                                           SUBTOTALS                  $0.00                $6,267.13
                                         Case 2:19-bk-52861         Doc 212        Filed 04/24/25 Entered 04/24/25 13:02:34                                  Desc
                                                                                    FORM
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        19-52861                                                                                         Trustee Name:                         Myron N. Terlecky
Case Name:                      VILLAVICENCIO, JOSE R.                                                                           Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:          **-***0281                                                                                       Checking Acct #:                      ******0271
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:
For Period Beginning:           04/01/2024                                                                                       Blanket bond (per case limit):        $2,000,000.00
For Period Ending:              03/31/2025                                                                                       Separate bond (if applicable):


    1                2                          3                                                   4                                                    5                   6               7

Transaction      Check /                     Paid to/                       Description of Transaction                             Uniform          Deposit            Disbursement        Balance
   Date           Ref. #                  Received From                                                                           Tran Code           $                     $



                                                                                      TOTALS:                                                        $523,839.37            $247,072.12       $276,767.25
                                                                                          Less: Bank transfers/CDs                                         $0.00                  $0.00
                                                                                      Subtotal                                                       $523,839.37            $247,072.12
                                                                                          Less: Payments to debtors                                        $0.00                  $0.00
                                                                                      Net                                                            $523,839.37            $247,072.12




                     For the period of 04/01/2024 to 03/31/2025                                                 For the entire history of the account between 11/22/2022 to 3/31/2025

                     Total Compensable Receipts:                     $305,000.00                                Total Compensable Receipts:                                $613,840.15
                     Total Non-Compensable Receipts:                       $0.00                                Total Non-Compensable Receipts:                                  $0.00
                     Total Comp/Non Comp Receipts:                   $305,000.00                                Total Comp/Non Comp Receipts:                              $613,840.15
                     Total Internal/Transfer Receipts:                     $0.00                                Total Internal/Transfer Receipts:                                $0.00


                     Total Compensable Disbursements:                $336,894.86                                Total Compensable Disbursements:                           $337,072.90
                     Total Non-Compensable Disbursements:                  $0.00                                Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:              $336,894.86                                Total Comp/Non Comp Disbursements:                         $337,072.90
                     Total Internal/Transfer Disbursements:                $0.00                                Total Internal/Transfer Disbursements:                           $0.00
                                         Case 2:19-bk-52861         Doc 212         Filed 04/24/25 Entered 04/24/25 13:02:34                              Desc
                                                                                     FORM
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        19-52861                                                                                      Trustee Name:                         Myron N. Terlecky
Case Name:                      VILLAVICENCIO, JOSE R.                                                                        Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:           **-***0281                                                                                   Checking Acct #:                      ******0271
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:
For Period Beginning:           04/01/2024                                                                                    Blanket bond (per case limit):        $2,000,000.00
For Period Ending:              03/31/2025                                                                                    Separate bond (if applicable):


    1                2                           3                                                   4                                                5                   6               7

Transaction      Check /                     Paid to/                        Description of Transaction                         Uniform           Deposit           Disbursement        Balance
   Date           Ref. #                  Received From                                                                        Tran Code            $                    $



                                                                                                                                                                               NET         ACCOUNT
                                                                                      TOTAL - ALL ACCOUNTS                               NET DEPOSITS                     DISBURSE        BALANCES

                                                                                                                                                 $523,839.37           $247,072.12        $276,767.25




                     For the period of 04/01/2024 to 03/31/2025                                              For the entire history of the account between 11/22/2022 to 3/31/2025

                     Total Compensable Receipts:                     $305,000.00                             Total Compensable Receipts:                               $613,840.15
                     Total Non-Compensable Receipts:                       $0.00                             Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                   $305,000.00                             Total Comp/Non Comp Receipts:                             $613,840.15
                     Total Internal/Transfer Receipts:                     $0.00                             Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                $336,894.86                             Total Compensable Disbursements:                          $337,072.90
                     Total Non-Compensable Disbursements:                  $0.00                             Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:              $336,894.86                             Total Comp/Non Comp Disbursements:                        $337,072.90
                     Total Internal/Transfer Disbursements:                $0.00                             Total Internal/Transfer Disbursements:                          $0.00




                                                                                                                                               /s/ MYRON N. TERLECKY
                                                                                                                                               MYRON N. TERLECKY
